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                      IN THE UNITED STATES DISTRICT COUR4UE DAVID GUADERRAMA
                       FOR THE WESTERN DISTRICT OF TEXAS
                                EL PASO DIVISION
                                                                               2U1   OCT 23 PM   2:   29
UNITED STATES OF AMERICA,                    §
                                                                S EAL ED
                                             §
         Plaintiff,
                                                     NO.EP-19-CR-
                                             §

 JOSE ALEJANDRO VAQUERA,                     §

         Defendant.
                                                      E P 19 C R 3456
                  GOVERNMENT'S MOTION TO SEAL INDICTMENT

TO THE HONORABLE JUDGE OF SAID COURT:

       Comes now the United States of America, by and through the United States Attorney for

the Western District of Texas, and files this Motion to Seal Indictment in the above numbered

cause and would show the Court as follows:

       On October 23, 2019, the Grand Jury returned a True Bill of Indictment, charging the

above named defendant in the above numbered cause. The disclosure of the existence of the

Indictment would seriously jeopardize the ability of law enforcement officers to locate the

Defendant and apprehend Defendant without incident.      The Government therefore seeks an

Order of the Court placing the Indictment and related documents concerning the above named

Defendant in the above numbered cause under seal. When the Defendant is arrested, the

Indictment and related documents will be unsealed.
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Accordingly, the United States respectfully requests that the Indictment in the above entitled and

numbered cause and this Motion and Order be sealed until further order of this Court or until the

Defendant is arrested.

                                             Respectfully submitted,

                                             JOHN F. BASH
                                             UNITED STATES ATTORNEY


                                     By.
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